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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

CHARLES LITTLE also known as Clifton Little,
also known as Clifton X,

                                          Plaintiff,
                                                                            9:19-CV-0263
         v.

TREVAR A. SOULIA, et al.,

                                Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                   DECISION and ORDER

I.       INTRODUCTION

         This pro se action brought pursuant to 42 U.S.C. § 1983 was referred to the Hon.

Thérèse W. Dancks, United States Magistrate Judge, for a Report and Recommendation

pursuant to 28 U.S.C. § 636(b) and Local Rule 72.3(c). In her June 16, 2021 Report-

Recommendation and Order, Judge Dancks recommends that Defendants' motion for

summary judgment (Dkt. No. 66) be granted in part with respect to the following claims: (1)

Plaintiff's Eighth Amendment deliberate medical indifference claims against Bleau; (2)

Plaintiff's First Amendment free exercise claim against Deyo; and (3) Plaintiff's equal

protection claims, and that the motion be denied in all further respects. See Rep.-Rec. &

Ord, Dkt. No. 80, at 42-43. No objections to the recom mendations have been filed, and

the time to do so has expired.

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II.      DISCUSSION

         After examining the record, this Court has determined that the Report-

Recommendation and Order is not subject to attack f or plain error or manifest injustice.

III.     CONCLUSION

         Accordingly, the Court ACCEPTS and ADOPTS the Report-Recommendation and

Order (Dkt. No. 80) for the reasons stated therein. Therefore, it is hereby

         ORDERED that Defendants' motion for summary judgment (Dkt. No. 66) is

GRANTED in part and DENIED in part. The motion is granted in that the following

claims are DISMISSED: (1) Plaintiff's Eighth Amendment deliberate medical indifference

claims against Bleau; (2) Plaintiff's First Amendment free exercise claim against Deyo; and

(3) Plaintiff's equal protection claims. The motion is DENIED in all further respects.

         The Clerk may terminate Defendant Bleau from this action.

IT IS SO ORDERED.

Dated:     October 2, 2021




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